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                    IN THE UNITED STATES DISTRICT COURT FOR THE
10                   WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION
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   NETCHOICE, LLC d/b/a NetChoice, a
12 502(c)(6) District of Columbia organization;   Case No. 1:21-cv-840-RP
   COMPUTER & COMMUNICATIONS
13
   INDUSTRY ASSOCIATION d/b/a CCIA, a
14 501(c)(6) non-stock Virginia Corporation,
                                                  AMICUS CURIAE BRIEF OF
15                Plaintiffs,                     TECHFREEDOM IN SUPPORT OF
                                                  PLAINTIFFS NETCHOICE AND CCIA’S
16         vs.                                    MOTION FOR PRELIMINARY
                                                  INJUNCTION
17 KEN PAXTON, in his official capacity as
   Attorney General of Texas,
18
                Defendant.
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 1 I.       INTRODUCTION

 2          Announcing his support for the social media speech code that would become HB 20, Texas

 3 Governor Greg Abbott tweeted: “Too many social media sites silence conservative speech and

 4 ideas and trample free speech. It’s un-American, Un-Texan, & soon to be illegal.” Greg Abbott

 5 (@GreggAbbott_TX), Twitter (Mar. 4, 2021), 11:52 PM, https://bit.ly/3jqSwWP. A few months

 6 later, in an order blocking enforcement of a similar law passed by Florida, District Judge Hinkle

 7 offered the perfect response: “[L]eveling the playing field—promoting speech on one side of an

 8 issue or restricting speech on the other—is not a legitimate state interest.” NetChoice LLC v.

 9 Moody, 4:21-cv-220, Dkt. 113 at 27 (N.D. Fla., June 30, 2021).

10          Under the First Amendment, “a speaker has the autonomy to choose the content of his own

11 message.” Hurley v. Irish-American Gay, Lesbian and Bisexual Group of Boston, 515 U.S. 557,

12 573 (1995). This is, at bottom, a right to “editorial control and judgment” over the speech one

13 hosts and disseminates. Miami Herald v. Tornillo, 418 U.S. 241, 258 (1974). See also Pls’ Mot.

14 for Prelim. Inj., Dkt. 12 at 15-16 (discussing Hurley and Miami Herald in greater detail). With its

15 onerous reporting and process requirements, and its unprecedented (and impossible) demand for

16 viewpoint neutrality, HB 20 roundly violates this right.

17          Texas appears to understand that under a conventional First Amendment analysis, HB 20 is

18 doomed. Hence its attempt to insulate its new law from such analysis under the guise of “common

19 carriage.” See HB 20 §§ 1(3), (4). But slapping the label “common carrier” on something doesn’t

20 make it so. And even if it did, common carriers retain their First Amendment rights, and they have

21 much broader discretion to refuse service than HB 20 allows for.

22          This brief addresses Texas’s “common carrier” theory as follows:

23          A. Social media websites—even large ones—are nothing like common carriers. Common

24 carriage is about (1) carriage, i.e., transportation, (2) of uniform things, i.e., people, commodities,

25 or parcels of private information, (3) in a manner that is common, i.e., indiscriminate. Social media

26 are different from common carriage in all pertinent respects. They are (1) a diverse array of

27 differentiated media products (microblogs, videochats, photo streams, and so on), (2) typically

28 shared as a public-facing expressive activity, (3) that are subject to extensive terms of service.
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 1          B. Contrary to HB 20’s naked assertions, large social media websites display none of the

 2 indicia of traditional common carriage. First, even if social media websites were “affected with a

 3 public interest” (whatever that means), see § 1(3), the Supreme Court—and some of the common

 4 carrier theory’s most notable proponents—don’t think a “public interest” test is useful for

 5 determining who can be treated as a common carrier. Second, social media websites have not

 6 “enjoyed governmental support,” see § 1(3), in any special or unique sense. They certainly have

 7 not received anything akin to the public easements that gave railroads and telegraph companies de

 8 facto geographic monopolies. And finally, the concept of “market dominance,” see § 1(4), is not

 9 useful. Even an entity with substantial market power retains its First Amendment rights, and, in

10 any event, the social media market remains highly fluid and competitive.

11          C. Three Supreme Court cases—PruneYard Shopping Center v. Robins, 447 U.S. 74

12 (1980); Rumsfeld v. FAIR, 547 U.S. 47 (2006); and Turner Broadcasting System, Inc. v. FCC, 512

13 U.S. 622 (1994)—are often cited as support for the common carrier theory. These cases show, at

14 most, that one speaker can sometimes be required to host another speaker if doing so does not

15 “interfer[e]” with the host speaker’s “desired message.” Rumsfeld, 547 U.S. at 64. The whole point

16 of HB 20, by contrast, is to “interfere” with social media websites’ “desired message.” What’s

17 more, unlike the entities regulated in PruneYard, Rumsfeld, and Turner, social media websites

18 function as editors, constantly making decisions about whether and how to allow, block, promote,

19 demote, remove, label, or otherwise respond to content. Curation and editing of expression are

20 antithetical to the concept of common carriage.

21          D. Even if social media websites were similar to common carriers, most, if not all, of

22 HB 20 would remain unconstitutional. In addition to the fact that common carriers are not stripped

23 of their First Amendment rights (see Dkt. 12 at 31-32), no common carrier has ever had to serve

24 customers utterly blind to their behavior. Common carriers have always been entitled to refuse

25 service, or bar entry, to anyone who misbehaves, disrupts the service, harasses other patrons, and

26 so on. Because HB 20 tries to force websites to serve even such people, it is not itself a proper

27 common carriage regulation.

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 1           Because HB 20 blatantly violates the First Amendment, there is no need to reach the topic

 2 of common carriage. If that topic is reached, however, this brief explains why Texas’s attempt to

 3 treat social media websites like common carriers is a constitutional dead end.

 4 II.       ARGUMENT

 5           A.      Social Media and Common Carriage Are Irreconcilable Concepts

 6           “A common carrier is generally defined as one who, by virtue of his calling and as a

 7 regular business, undertakes to transport persons or commodities from place to place, offering his

 8 services to such as may choose to employ him and pay his charges.” McCoy v. Pac. Spruce Corp.,

 9 1 F.2d 853, 855 (9th Cir. 1924). As its name suggests, in other words, “common carriage” is about

10 offering, to the public at large and on indiscriminate terms, to carry generic stuff from point A to

11 point B. Social media websites fulfill none of these elements.

12                   1.      Social Media Are Not “Carriage”: They Are Diverse and Evolving
                             Products
13
             Lumber is lumber. Once it has arrived at a construction site, one two-by-four is generally
14
     as good as another. How the wood got to the site is, for purposes of the construction itself,
15
     irrelevant. Putting common carriage in its proper historical context begins with this fundamental
16
     point. The “business of common carriers” is, at its core, “the transportation of property.” German
17
     Alliance Ins. Co. v. Kansas, 233 U.S. 389, 406 (1914); see Interstate Commerce Act, 24 Stat. 379,
18
     379-80 (1887) (prohibiting a “common carrier” in “the transportation of passengers or property”
19
     from discriminating, by price, among its similarly situated customers) (emphasis added).
20
             True, the “transmission of intelligence” has sometimes been treated as “of cognate
21
     character” to traditional common carriage. German Alliance, 233 U.S. at 406-07. But that
22
     “cognate character” arose in fields, such as telegraphy and telephony, where information was
23
     treated as a commodity product to be purveyed through some sort of (typically scarce) public
24
     thoroughfare. See id. at 426-27 (Lamar, J., dissenting). The key is that, like traditional common
25
     carriage, “they all ha[d] direct relation to the business or facilities of transportation” itself. Id. at
26
     426 (emphasis added). Although it doubtless contains a message, a telegram is best thought of as a
27
     widget of information conveyed along “public ways,” id., by a commodity carrier, see Mann-
28
                                                          -3-
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 1 Elkins Act, 36 Stat. 539, 544-45 (1910) (applying the Interstate Commerce Act to telegraph and

 2 telephone companies).

 3          Social media websites are nothing like this. They are not interchangeable carriers of

 4 information widgets. The core aspect of their product, in fact, is not transportation at all. What the

 5 platforms offer is a wide array of differentiated—and rapidly evolving—forms of public-facing

 6 communication. Twitter’s main product is a microblog. Instagram is primarily a photo-sharing

 7 service. TikTok is centered around short videos. Snapchat’s main feature is the evanescence of

 8 posts. Clubhouse focuses on providing oral chatrooms. Facebook, which has embraced several of

 9 these other forms, has recently recommitted to fostering group pages. Far from simply transporting

10 information from point A to point B, moreover, each of these services deploys its own proprietary

11 algorithms to customize the order in which content appears on any given user’s feed. When it

12 comes to social media, Marshall McLuhan’s aphorism rings true: the medium is the message.

13          The FCC has long confirmed that “data transport” is the essence of telecommunications

14 common carrier service, whereas “any offering over the telecommunications network which is

15 more than a basic transmission service” is not. Federal-State Joint Board on Universal Service,

16 Report to Congress, 13 FCC Rcd 11501, 11513, ¶ 25 (1998) (Stevens Report) (emphasis added);

17 see generally Computer III Phase I Order, 104 FCC. 2d 958, 968, ¶ 10 (1986); Stevens Report,

18 11511-15, ¶¶ 22-32 (summarizing the FCC’s treatment of “data processing” since 1966). Indeed,

19 because the bar for qualifying as “more than a basic transmission service” is low, even some

20 services that, unlike social media, really do closely resemble pure information “transport” are,

21 nonetheless, not common carriers. Although telephony, which connects users without any

22 intervention by the carrier, is common carriage, even simple text messaging, which requires the

23 carrier to undertake some information processing during transmission, is not. See In re Petitions

24 for Decl’y Ruling on Reg’y Status of Wireless Messaging Serv., 33 FCC Rcd. 12075 (2018).

25          The social media market is diverse and fast-moving. Social media websites constantly

26 create new forms of content. They compete in a market for differentiated media products. What

27 they do not do is passively act as “carriers” of information.

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 1                  2.     Social Media Are Not “Carriage”: They Are Fundamentally Expressive

 2          Again, common carriage involves the transportation of people and commodities.
 3 Telegraphy and telephony press the boundaries of that core, transportational conception of

 4 common carriage. One message, after all, is not interchangeable with another. There is, however, a

 5 key sense in which a telegram or a telephone call is indeed just a widget of information: such

 6 communications are usually private. And being private, they are usually treated as strictly between

 7 the individual sender and recipient. Cf. 18 U.S.C. § 2511 (criminal penalties for intercepting a

 8 wire or secretly recording a call). This means that a carrier may transmit a telegram or a call while

 9 remaining indifferent to its content.

10          Once a “telephone company becomes a medium for public rather than private
11 communication,” however, “the fit of traditional common carrier law becomes much less snug.”

12 Carlin Commc’ns, Inc. v. Mountain States Tel. & Tel. Co., 827 F.2d 1291, 1294 (9th Cir. 1987).

13 While transmitting a private call or message can be thought of as carrying an information widget,

14 transmitting a public-facing call or message is clearly about broadcasting ideas and viewpoints.

15 Id. It is a mode of expression, not only by the direct speaker, but also by the purveyor of the

16 speech. “Mass-media speech,” in short, “implicates a broader range of free speech values” than

17 does “person-to-person” speech. Christopher S. Yoo, Free Speech and the Myth of the Internet as

18 an Unintermediated Experience, 78 Geo. Wash. L. Rev. 697, 701 (2010).1

19          As the plaintiffs explain (Dkt. 12 at 15-16), two of the key precedents governing this case
20 are Miami Herald, 418 U.S. 241, and Hurley, 515 U.S. 557. Miami Herald strikes down a Florida

21 law that required a newspaper to print a political candidate’s reply to the newspaper’s unfavorable

22 coverage. Hurley holds that a private parade may exclude some groups from participating. Like a

23

24   1
     This is not to say that all private communications are common carriage. As we saw above, text
   messaging is not. Nor would an Internet-based messaging service such as WhatsApp be. What is
25 true, though, is that public communication is, virtually by definition, not common carriage.

26 Indeed, Congress considered, and rejected, proposals to make broadcasting common carriage in
   the Radio Act of 1927, and it explicitly declared that broadcasting is not common carriage in the
27 Communications Act of 1934. Columbia Broadcasting v. Democratic Comm., 412 U.S. 94, 105
   (1973); see 47 U.S.C. § 153(h).
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 1 newspaper (Miami Herald) or a parade (Hurley), a social media website presents a collection of

 2 messages to a wide audience. This public-facing expression is incompatible with—indeed,

 3 contradictory to—the concept of common carriage. Calling the websites “common carriers”

 4 anyway doesn’t make it so. The Texas legislature could not overturn Miami Herald or Hurley

 5 simply by declaring that newspapers or parades are “common carriers.” The same holds true here.

 6          “[W]hen dissemination of a view contrary to one’s own is forced upon a speaker intimately

 7 connected with the communication advanced, the speaker’s [First Amendment] right to autonomy

 8 over the message is compromised.” Hurley, 515 U.S. at 576. That is the overriding principle

 9 HB 20 flouts. “Common carriage” is not a magic label that can make this First Amendment

10 violation go away.

11                  3.      Social Media Are Not “Common”: They Are Not Offered
                            Indiscriminately
12
            An edited product is, inherently, not common carriage. Although the FCC has waffled over
13
     whether most Internet service providers are common carriers, for instance, what’s clear is that if
14
     an Internet service provider explicitly “hold[s] itself out as providing something other than a
15
     neutral, indiscriminate pathway,” it is not a common carrier. U.S. Telecom Ass’n v. FCC, 855 F.3d
16
     381, 389 (D.C. Cir. 2017) (Srinivasan, J., concurring in the denial of rehearing en banc). So long
17
     as it’s up front about what it’s doing, a provider that wants to engage in “editorial intervention”—
18
     and, thus, not common carriage—is free to do so. Id. See also Christopher Yoo, The First
19
     Amendment, Common Carriers, and Public Accommodations: Net Neutrality, Digital Platforms,
20
     and Privacy, 1 J. of Free Speech Law 463, 473-75 (2021) (discussing the weaknesses of a
21
     “holding out” theory of common carriage).
22
            All prominent social media platforms engage in such intervention. Twitter, for example,
23
     has rules that seek to “ensure all people can participate in the public conversation freely and
24
     safely.” Twitter, The Twitter Rules, https://bit.ly/3cpc75S (last accessed Sept. 24, 2021).
25
     “Violence, harassment and other similar types of behavior discourage” such conversation, and are
26
     therefore barred by Twitter’s rules. Id. Not surprisingly, bans on things like harassment and hate
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 1 speech are common among online platforms. See Dkt. 12 Ex. A ¶¶ 12-13 & n.27, Ex. C ¶ 11, Ex.

 2 D ¶¶ 8-12.2

 3          That social media websites engage in curation and editing should come as no surprise,

 4 given that curation and editing are a fundamental aspect of the service those platforms exist to

 5 provide. Without intermediaries, the Internet would be a bewildering flood of disordered

 6 information. By organizing that information, intermediaries enable users to “sift through the ever-

 7 growing avalanche of desired content that appears on the Internet every day.” Yoo, supra, 78 Geo.

 8 Wash. L. Rev. at 701. Indeed, “social media” could not exist if intermediaries did not play this

 9 role. It is only after a platform engages in curation and editing that a mass of “social” media

10 becomes navigable by the average user. More than that, such curation and editing is necessary to

11 make social media a pleasant experience worth navigating. “[T]he editorial discretion that

12 intermediaries exercise” enables users to avoid “unwanted speech” and “identify and access

13 desired content.” Id.

14          Not only do platforms refuse to host content indiscriminately; they are widely expected not

15 to do so. See Dkt. 12, Ex. A ¶ 28; Ex. B ¶¶ 16-18. Everyone from advertisers to civil rights groups

16 to the media holds the platforms responsible for the content they amplify, or even just host. See,

17 e.g., Tom Maxwell, Twitch Streamers Demand the Platform ‘Do Better’ at Moderating Hate

18 Speech, Input, https://bit.ly/37wIbSo (Aug. 10, 2021); Analis Bailey, Premier League, English

19 Soccer Announce Social Media Boycott in Response to Racist Abuse, USA Today,

20 https://bit.ly/3xIpfdT (Apr. 24, 2021); u/DubTeeDub, “Open Letter to Steve Huffman and the

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     2
       What’s more, such bans have always been common. “You agree not to use the Web site,”
22
     Facebook’s terms of service said in 2005, to post “any content that we deem to be harmful,
23   threatening, abusive, harassing, vulgar, obscene, hateful, or racially, ethnically or otherwise
     objectionable.” Wayback Machine, Facebook Terms of Use, https://bit.ly/3w1gYC5 (Nov. 26,
24   2005). Indeed, one can go back much farther than that. As early as 1990, Prodigy, one of the first
     social networks, made its curation function a central part of its marketing strategy. “‘We make no
25   apology for pursuing a value system that reflects the culture of the millions of American families
26   we aspire to serve,’” it declared. Stratton Oakmont, Inc. v. Prodigy Servs., 1995 WL 323710 at *3
     (N.Y. Sup. Ct. May 24, 1995). “‘Certainly no responsible newspaper does less when it chooses the
27   type of advertising it publishes, the letters it prints, the degree of nudity and unsupported gossip its
     editors tolerate.’” Id.
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 1 Board of Directors of Reddit, Inc.—If You Believe in Standing up to Hate and Supporting Black

 2 Lives, You Need to Act,” posted on r/AgainstHateSubreddits, reddit, https://bit.ly/3xef0hW (June

 3 8, 2020). In a short span during the middle of last year, for example, Facebook had to deal with a

 4 congressional hearing, an advertiser boycott, and a civil rights audit, all of it arising from a

 5 widespread perception that Facebook must do more to limit the spread of hate speech. Tiffany Hsu

 6 & Elanor Lutz, More Than 1,000 Companies Boycotted Facebook. Did It Work?, NY Times,

 7 https://nyti.ms/3gjyryR (Aug. 1, 2020). The underlying assumption is that Facebook can, and

 8 should, intervene, extensively, in its own product to ensure that it is free, so far as possible, of

 9 toxic content.

10          B.      Social Media Bears None of the Indicia of Common Carriage Listed in HB 20

11          HB 20 declares (without evidence) that large social media websites meet some criteria
12 widely exhibited by common carriers of the past, such as railroad and telegraph companies. Even

13 if these criteria had more than limited relevance to the rights of expressive entities (they don’t),

14 social media websites meet none of the criteria at hand.

15                  1.      “Affected With a Public Interest”
16          HB 20 claims that social media websites are “affected with a public interest.” § 1(3). The
17 Supreme Court has said, however, that whether a business serves a “public interest” is “an

18 unsatisfactory test of the constitutionality of legislation directed at [the business’s] practices or

19 prices.” Nebbia v. New York, 291 U.S. 502, 536 (1934). Even Justice Thomas—perhaps the

20 common carrier theory’s most prominent champion—concedes that a “public interest” test for

21 common carriage “is hardly helpful,” given that “most things can be described as ‘of public

22 interest.’” Biden v. Knight First Am. Inst., 141 S. Ct. 1220, 1223 (2021) (Thomas, J., concurring).

23                  2.      “Have Enjoyed Governmental Support”
24          HB 20 says that social media websites have “enjoyed governmental support in the United
25 States.” § 1(3). This is presumably a nod to Section 230 of the Communications Decency Act. 47

26 U.S.C. § 230; see Dkt. 12 at 37-39 (discussing Section 230).

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 1          True enough, businesses that employ property acquired through eminent domain have

 2 sometimes had to operate as common carriers. It does not follow that Section 230, which broadly

 3 protects all websites for hosting speech that originates with others, creates a similar quid pro quo

 4 obligation. There are several problems with the comparison:

 5             Section 230 was not a gift to a few “Big Tech” firms (or any other select group). It

 6              applies to every Internet website and service. See 47 U.S.C. §§ 230(c)(1), (c)(2). If

 7              Section 230 doesn’t turn a blog, or Yelp, or a newspaper’s comments sections, or an

 8              individual social media account, into a common carrier, it’s unclear why it should turn

 9              Facebook, YouTube, or TikTok into one.

10             Section 230 simply ensures that the initial speaker is the one liable for speech that
11              causes legally actionable harm. See id. § 230(c)(1). It is not a “privilege” akin to when
12              the government hands real property to one firm, to the exclusion of all potential
13              competitors, for use as a railroad or a telegraph line.
14             Far from being a sign that the government wants social media websites to act as
15              common carriers, Section 230 is a sign that it wants them to act as discerning editors.
16              Section 230 ensures that a website can “exercise” a “publisher’s traditional editorial
17              functions—such as deciding whether to publish, withdraw, postpone or alter
18              content”—without (in most cases) worrying that doing so will trigger liability. Zeran v.
19              Am. Online, 129 F.3d 327, 330 (4th Cir. 1997).
20          If the federally enacted Section 230 is the quid, by the way, why should a state government
21 get to impose the quo? The history of common carriage in the United States, going back to the

22 Interstate Commerce Act of 1887, is one of aiding interstate commerce by setting and enforcing

23 national standards. Precisely because they were regulated as common carriers, telegraph

24 companies were not subject to regulation by the states. Postal Tel.-Cable Co. v. Warren-Godwin

25 Lumber Co., 251 U.S. 27, 30 (1919). Even if Section 230 could serve as the basis for common

26 carriage rules, it couldn’t serve as the basis for common carriage rules imposed by Texas.

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 1                  3.      “Market Dominance”

 2          Finally, HB 20 claims that large social media websites “are common carriers by virtue of
 3 their market dominance.” § 1(4). The first problem on this front is the brute legal fact that an entity

 4 does not forfeit its constitutional rights by succeeding in the market. The Supreme Court accepted

 5 that The Miami Herald enjoyed near-monopoly control over local news; yet the newspaper

 6 retained its First Amendment right to exercise editorial control and judgment as it saw fit. 418

 7 U.S. at 250-52, 256-58; see also Dkt. 12 at 31-32.

 8          This is not to say that media firms, social or otherwise, are above the antitrust laws. A
 9 newspaper that uses its market power to inflict economic pain on a rival—one that, say, convinces

10 advertisers to boycott, and thereby bankrupt, a local radio station—is inviting antitrust liability for

11 its business practices. See Lorain Journal Co. v. United States, 342 U.S. 143 (1951). It is to say,

12 however, that the right to reject speech for expressive reasons travels with a company, like a shell

13 on a turtle, wherever the company goes—even if the company, like Yertle, is king of the pond. Cf.

14 Dr. Seuss, Yertle the Turtle and Other Stories (1958).

15          If that were all there is to say about social media, monopoly, and free speech, HB 20’s
16 supporters could be forgiven for some griping about the demise of their unconstitutional law

17 (though fall it still would). But the reality is that the social media market is as lively as ever. It

18 continues to offer many avenues of expression and communication. If you’re convinced (as Gov.

19 Abbott and HB 20’s other supporters explicitly are) that “Big Tech” is “out to get” Republicans,

20 you can do your blogging on Substack, your posting on Parler or Gettr, your messaging on

21 Telegram or Discord, and your video watching and sharing on Rumble. And anyone who claims

22 that network effects will ultimately thwart this competition must grapple with the astonishing rise

23 of TikTok.3

24
   3
     Dismissing an FTC antitrust complaint against Facebook, Judge Boasberg refused “to simply
25 nod to the conventional wisdom that Facebook is a monopolist.” FTC v. Facebook, 20-cv-3590,

26 Dkt. 73 at 31 (D.D.C., June 28, 2021). The agency, he observed, had presented “almost nothing
   concrete on the key question of how much market power Facebook actually had, and still has, in a
27 properly defined antitrust product market.” Id. In an amended pleading, moreover, the FTC now
   stands its case on an utterly implausible claim that Facebook’s only real competitor is Snapchat.
28 (footnote continued)
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 1          Even the largest social media websites are just a piece of the “relatively unlimited” world

 2 of online communication. Reno v. ACLU, 521 U.S. 844, 870 (1997). No website (or discrete group

 3 of websites) holds anything like the “bottleneck” control once wielded by telegraphs or railroads.

 4          C.      Supreme Court Case Law Does Not Save HB 20’s Common Carrier Theory

 5          Three Supreme Court cases are frequently cited as support for the notion that social media

 6 websites are “analogous” to common carriers. None of the three is pertinent.

 7                  1.     PruneYard Shopping Center v. Robins

 8          At issue in PruneYard Shopping Center v. Robins, 447 U.S. 74 (1980), was whether a
 9 shopping mall could be forced, under the California Constitution, to let students protest on its

10 private property. Yes, PruneYard says, it could. In so saying, however, PruneYard distinguishes

11 Miami Herald. That case involved “an intrusion into the function of editors,” PruneYard notes—a

12 “concern” that “obviously” was “not present” for the mall. Id. at 88. Here, by contrast, that

13 concern obviously is present, as explained above. “Intru[ding]” into social media websites’

14 “function” as “editors” is what HB 20 is all about.

15          What’s more, PruneYard announces that “the views expressed by members of the public”
16 on the mall’s property would “not likely be identified with that of the owner.” Id. at 87. Even if

17 that evidence-free declaration was true, at the time, of the mall (we have our doubts), it is certainly

18 not true today of social media websites. As we’ve discussed, those sites are “identified” with the

19 speech they host. A platform that hosts a certain speaker is widely considered to have deemed that

20 speaker “worthy of presentation,” and “quite possibly of support as well.” Hurley, 515 U.S. at

21 575.4

22

23 Id. Dkt. 82. The litigation is ongoing, and its outcome cannot be predicted. But if the FTC
   struggles to define a proper social-networking market (never mind show Facebook’s power within
24 that market), all the greater is the task before anyone who, like Texas, makes the even bolder claim
   that large social media websites wield bottleneck control over online speech.
25 4 The mall also challenged the speech-hosting obligation under the Takings Clause. On its way to

26 rejecting that challenge, PruneYard makes further findings pertinent to this case. The students,
   PruneYard notes, “were orderly,” and the mall remained free to impose “time, place, and manner
27 regulations” on others’ speech that would “minimize any interference with its commercial
   functions.” 447 U.S. at 83-84. This makes PruneYard nothing like the case here, in which Texas
28 (footnote continued)
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 1                 2.      Rumsfeld v. FAIR

 2          In protest of the military’s “Don’t ask, don’t tell” policy, various law schools stopped
 3 allowing military recruiters on their campuses. Let the recruiters in, Congress responded, in a law

 4 known as the Solomon Amendment, or lose government funding. Rumsfeld v. FAIR, 547 U.S. 47

 5 (2006), rejected an association’s contention that the Solomon Amendment violates the First

 6 Amendment.

 7          Distinguishing Miami Herald and Hurley, FAIR concluded that “accommodating the
 8 military’s message d[id] not affect the law schools’ speech.” Id. at 63-64. Unlike “a parade, a

 9 newsletter, or the editorial page of a newspaper,” FAIR explained, “a law school’s decision to

10 allow recruiters on campus is not inherently expressive.” Id. at 64. The pertinent distinction

11 between job-recruitment meetings, on the one hand, and parades, newsletters, and newspapers, on

12 the other, is not hard to divine. One-on-one recruitment meetings are akin to telegraphic or

13 telephonic communication—the passage of private information widgets—and not at all like the

14 public-facing expression of views undertaken by a parade, a publication, or a website.

15          HB 20 requires social media to platform various speakers, and to spread and amplify, far
16 and wide, almost anything those speakers wish to say. It thus looks nothing like the law at issue in

17 FAIR, a case about direct communication between a recruiter willing to talk and a law student

18 willing to listen. For FAIR to resemble this case, Congress would have had to pass a law altogether

19 different from the Solomon Amendment. Picture a law requiring law schools to let neo-Nazis

20 maraud their halls toting signs and bullhorns. That is the equivalent of what HB 20 requires of

21 select social media websites.

22                 3.      Turner Broadcasting System v. FCC
23          In the 1992 Cable Act, Congress imposed “so-called must-carry provisions” that
24 “require[d] cable operators to carry the signals of a specified number of local broadcast television

25 stations.” Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 630 (1994). While concluding that cable

26
   seeks to make websites host hostile, abusive, highly disruptive speech. In effect, HB 20 requires
27 the websites to host disorderly conduct, and it bars them from imposing reasonable time, place,
   and manner regulations.
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 1 operators engage in speech protected by the First Amendment, id. at 636, Turner subjects the

 2 must-carry provisions merely to intermediate, rather than to strict, scrutiny. Turner is positively

 3 brimming, however, with distinctions that render it inapplicable to social media websites.

 4          First, like traditional common carriers, see German Alliance, 233 U.S. at 426-27 (Lamar,

 5 J., dissenting), cable systems use “physical infrastructure”—“cable or optical fibers”—that require

 6 “public rights-of-way and easements.” Id. at 627-28. This setup “gives the cable operator

 7 bottleneck, or gatekeeper, control over most (if not all) of the television programming that is

 8 channeled into the subscriber’s home.” Id. at 656. This means that “a cable operator, unlike

 9 speakers in other media,” can “silence the voice of competing speakers with a mere flick of the

10 switch.” Id. (emphasis added). On precisely this ground, Turner distinguishes Miami Herald,

11 notwithstanding the fact that a “daily newspaper” may “enjoy monopoly status in a given locale.”

12 Id. “A daily newspaper,” after all, “no matter how secure its local monopoly, does not possess the

13 power to obstruct readers’ access to other competing publications.” Id. Just the same can be said of

14 social media websites. Whatever the level of their market control—it’s not much, in our view, as

15 we explain above—they do not, when “assert[ing] exclusive control over [their] own … copy,”

16 thereby “prevent other[s]” from “distribut[ing]” competing products “to willing recipients.” Id.

17          Second, “cable personnel” generally “do not review any of the material provided by cable

18 networks,” and “cable systems have no conscious control over program services provided by

19 others.” Id. at 629 (quoting Daniel Brenner, Cable Television and the Freedom of Expression,

20 1988 Duke L.J. 329, 339 (1988)). Cable operators are thus, “in essence,” simply “conduit[s] for

21 the speech of others.” Id. They generally transmit speech “on a continuous and unedited basis to

22 subscribers.” Id. This makes sense, given that most broadcast television content is comparatively

23 sanitized and, certainly when compared to the worst online speech, uncontroversial. Turner

24 concludes, therefore—again while distinguishing Miami Herald—that “no aspect of the must-

25 carry provisions would cause a cable operator or cable programmer to conclude that ‘the safe

26 course is to avoid controversy,’ and by so doing diminish the free flow of information and ideas.”

27 Id. at 656 (quoting Miami Herald, 418 U.S. at 257). This is the precise opposite of the situation

28 with social media websites. The websites are not simply “conduits”; they are provided on a
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 1 curated and edited basis, and they do sometimes take “the safe course” and “avoid controversy.”

 2 Witness, for instance, Twitter’s decision to stop hosting political advertisements. See Wash. Post

 3 v. McManus, 944 F.3d 506, 517 n.4 (4th Cir. 2019).

 4          Third, and relatedly, Turner declares—again while distinguishing Miami Herald (and it

 5 could have added Hurley to boot)—that there was “little risk that cable viewers would assume that

 6 the broadcast stations carried on a cable system convey ideas or messages endorsed by the cable

 7 operator.” Id. at 655. This, again, because of the cable operators’ “long history of serving” merely

 8 “as a conduit for broadcast signals.” Id. The cable operators did not even contest this point; they

 9 did “not suggest” that “must-carry” would “force” them “to alter their own messages to respond to

10 the broadcast programming they [we]re required to carry.” Id. As we’ve explained, the “long

11 history” behind social media could not be more different. Naturally, given that history, the

12 platforms vigorously contend that they would have to “respond” to certain messages they might be

13 required “to carry.”

14          Fourth, the central issue in Turner was whether the must-carry provisions were content

15 neutral. “Broadcasters, which transmit over the airwaves, are favored,” Turner acknowledges,

16 “while cable programmers, which do not, are disfavored.” Id. at 645. But this distinction, Turner

17 concludes, did not make the must-carry provisions a content-based law subject to strict scrutiny.

18 According to Turner, “Congress’ overriding objective … was not to favor programming of a

19 particular subject matter, viewpoint, or format, but rather to preserve access to free [broadcast]

20 television programming.” Id. at 646. In other words, the law was purely about “economic

21 incentive[s].” Id. at 646. The cable operators, for their part, did little to argue otherwise, raising

22 only “speculati[ve]” “hypothes[es]” about “a content-based purpose” for the law. Id. at 652. Here,

23 by contrast, HB 20 compels the carrying of speech based on its viewpoint. § 6; see Reed v. Town

24 of Gilbert, 135 S. Ct. 2218, 2230 (2015) (viewpoint discrimination is simply “a more blatant and

25 egregious form of content discrimination”).

26          D.      The Burdens Imposed by HB 20 Go Far Beyond Common Carriage

27          Texas’s law effectively compels large social media services to host all users, however

28 obnoxious their behavior. This is not what common carriage meant at common law. “An
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 1 innkeeper or common carrier has always been allowed to exclude drunks, criminals and diseased

 2 persons[.]” Lombard v. Louisiana, 373 U.S. 267, 280 (1963) (Douglas, J., concurring) (citing

 3 Bruce Wyman, Public Service Corporations (1911), available at https://bit.ly/3wb5c84). “It is not

 4 the mere intoxication that disables the person from requiring service; it is the fact that he may be

 5 obnoxious to the others.” Wyman, supra, ch. 18 § 632. “Telegraph companies likewise need not

 6 accept obscene, blasphemous, profane or indecent messages.” Id. § 633; see also id. § 639

 7 (discussing a carrier’s right to set restrictions on the transport of “insane persons”).

 8          In short, common carriers enjoyed broad discretion to “restrain” and “prevent”

 9 “profaneness, indecency, [and] other breaches of decorum in speech or behavior.” Id. § 644. They

10 were not even “bound to wait until some act of violence, profaneness or other misconduct had

11 been committed” before expelling those whom they suspected to be “evil-disposed persons.” Id.

12          True, there were limits. A telegraph company that refused to carry an “equivocal

13 message”—one whose offensiveness was debatable—did so “at its peril.” Id. § 632. Although a

14 telephone service could “cut off” a “habitually profane” subscriber, it had to show some tolerance

15 to someone who “desisted from objectionable language upon complaint being made to him.” Id.

16 And regulators could (and in some areas still can) assess whether certain of a common carrier’s

17 rules and prohibitions are “just and reasonable.” See, e.g., 47 U.S.C. §§ 201(b), 202(a). But in

18 general, the “principle of nondiscrimination does not preclude distinctions based on reasonable

19 business classifications.” Carlin, 827 F.2d at 1293. Thus, a telephone company could refuse to

20 carry all price advertising in its yellow pages directory (a common carrier service) even though

21 this was an “explicit content-based restriction.” Id.

22          As the plaintiffs explain, “common carriers retain their ‘right to be free from state

23 regulation that burdens [their] speech.’” Dkt. 12 at 32 (quoting PG&E v. Pub. Util. Comm’n of

24 Cal., 475 U.S. 1, 17 n.14 (1986) (plurality op.)). But although a common carrier’s First

25 Amendment rights exist apart from its common-law powers over patrons’ behavior, it still bears

26 noting that, under those common-law rules, HB 20 cannot qualify as a proper common-carriage

27 law. Above all, a valid common-carriage regulation would not bar social media from setting

28 reasonable rules governing “indecent messages.” Wyman, supra, § 633.
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 1 III.     CONCLUSION

 2          The plaintiffs’ motion for preliminary injunction should be granted.

 3        October 8, 2021

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 5
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 1                                    CERTIFICATE OF SERVICE

 2            I hereby certify that on the 8th day of October 2021, the foregoing Amicus Curiae Brief
 3
     of TechFreedom in Support of Plaintiffs Netchoice and CCIA’s Motion for Preliminary Injunction
 4
     was filed with the Clerk of the Court and served on all counsel of record in this case using the
 5
     Court’s CM/ECF system.
 6

 7
                                                   /s/ Jason A. Cairns
                                                   Jason A. Cairns
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